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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF LOUISIANA
                            LAFAYETTE DIVISION

 UNITED STATES                            CRIMINAL ACTION NO. 16-CR-00140-07

 VERSUS                                   JUDGE WALTER

 DAMIEN ALEXANDER                         MAGISTRATE JUDGE WHITEHURST

                                     JUDGMENT

       This matter was referred to United States Magistrate Judge Carol B. Whitehurst

 for report and recommendation. After an independent review of the record, and noting

 the defendant’s waiver of any objections, this Court concludes that the Magistrate

 Judge’s report and recommendation is correct and adopts the findings and conclusions

 therein as its own. Accordingly,

       IT IS ORDERED, ADJUDGED, AND DECREED that, in accordance with

 the terms of the plea agreement filed in the record of these proceedings, the guilty plea

 of the defendant, Damien Alexander, is ACCEPTED and he is finally adjudged guilty

 of the offense charged in Count One of the Indictment, consistent with the report and

 recommendation.

       Shreveport, Louisiana, this 15th day of March, 2017.
